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AO 399 (01/09) Waiver of the Service of Summons



                                     UNITED STATES DISTRICT COURT
                                                                       for the
                                                        Northern District of California
                     James Jacoby, et al.,                                   )
                             Plaintiff                                       )
                            v.                                               )   Civil Action No. 5:21-cv-08136-LHK
                   Neuropace, Inc., et al.,                                  )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Irina Ridley
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from            4/21/2022          , the date when this request was sent (or 90 days if it was sent outside the United
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:         4/21/2022
                                                                                          Signature of the attorney or unrepresented party

                    Irina Ridley                                                                       Jeffrey Lombard
        Printed name of party waiving service of summons                                                   Printed name

                                                                                           1700 Seventh Avenue, Suite 1900
                                                                                               Seattle, WA 98101-1355
                                                                                                              Address

                                                                                                   jlombard@cooley.com
                                                                                                          E-mail address

                                                                                                       (206) 452-8796
                                                                                                        Telephone number

                                          Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.
         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object t o the absence
of a summons or of service.
           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had
been served.
